Case o-Z0-/2Z41lif-laS DVocl Filed Od/lsizo Entered Vo/lof/2s 11'50°06

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United States Bankruptcy Court for the:

Lastern

Case number (if known):

District of

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

u.¥

(State)
Chapter 7

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eue

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APL min CTO

TORN

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TCY COU

Q) Check if this is an
amended filing

4G

06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name

2. All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

6. Debtor's website (URL)

Official Form 201

GF checkson Holding Grp

 

 

 

 

 

Principal place of business

99 Satth town Blvd

 

 

Mailing address, if different from principal place
of business

 

 

 

 

Number Street Number Street
P.O. Box
Saithtoun VY 11767
City State ZIP Code City State ZIP Code

Spek

Goun

Location of principal assets, if different from
principal place of business

412 37th Street

 

 

 

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Number Street

Lndenherst_ WY 787

City State ZIP Code
page 1
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Debtor q Jac kK Son Hote be), 2g Li or, f Case number (if known)
Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor" must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

 

x Corporation (Including Limited Liability Company (LLG) and Limited Liabitity Partnership (LLP))
() Partnership (excluding LLP)
C) Other. Specity:

A. Check one:

(I Health Care Business (as defined in 11 U.S.C. § 101(27A))
(ud Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
QO) Railroad (as defined in 11 U.S.C. § 101(44))

QC) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

OQ Clearing Bank (as defined in 11 U.S.C. § 781(3))

wy None of the above

B. Check all that apply:

O Tax-exempt entity (as described in 26 U.S.C. § 501)

(2 investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts, gov/four-digit-national-association-naics-codes .
53/3

Check one:

BY chapter 7
CJ) Chapter 9

CI Chapter 14. Check all that apply:

(J The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(2 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).
C1 A plan is being filed with this petition.

() Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

() The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Affachment to Voluntary Petition for Non-individuals Filing

for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor Is a shell company aa defined in the Securities Exchange Act of 1934 Rule

b-

Cl] Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case o-20-/2Z11/-las

Debtor 9 eckson /e fling

Name

9. Were prior bankruptcy cases [) No

filed by or against the debtor by
es.

within the last 8 years?

If more than 2 cases, attach a
separate list.

40. Are any bankruptcy cases A No
pending or being filed by a
business partner or an UO) Yes.
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Doc Ll Filed OVO/lo/f2z5 Entered Vo/loizo L1in0700

Core Case number (if known)

 

District actern When £4 [OOP case number 8-29 * 0651 LAs

MM/ DD/YYYY

 

District When Case number
MM/ DD/YYYY

Debtor Relationship

District When
MM / DD /YYYY

Case number, if known

 

11. Why is the case filed in this = Check alf that apply:

district?
M Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

() A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own orhave PWNo

possession of any real © Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property or personal property
that needs immediate
attention?

Why does the property need immediate attention? (Check ail that apply.)
(J it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

(CJ it needs to be physically secured or protected from the weather.

(} It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C) other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code
Is the property insured?
C No

LJ Yes. insurance agency

 

 

Contact name

Phone

 

BE sest-te= and administrative Information

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Case o-Z50-/2Z1if/-laS Vocl Filed Oo/lsizo

Debtor G Jackson ela ing Corp

Name

18. Signature of attorney

Official Form 201

x

entered Vo/lo/2s 1Lin0°06

Case number (if known).

 

 

 

 

 

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

 

Contact phone

 

Email address

 

Bar number

State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

 

page 5
Case o-Zo0-/2Z41lif/-laS DVocl Filed O0/lsizo Entered Vo/lof/2s 11'50°06

 

 

 

Debtor 7 (A2e £ Sé@/) he ld, AIG, G on )D Case number (if known)
Name =
13. Debtor's estimation of Check one:
available funds () Funds will be available for distribution to unsecured creditors.

x After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

. wy 1-49 () 1,000-5,000 QC) 25,001-50,000
“ Estimated number of OO) 50-99 Q 5,001-10,000 ©) 50,001-100,000
OQ 100-199 Q) 10,001-25,000 C2 More than 100,000
QC) 200-999
QI $0-$50,000 (3 $1,000,001-$10 million C] $500,000,001-$1 billion
15. Estimated assets O) $50,001-$100,000 Q $10,000,001-$50 million €) $1,000,000,001-$10 billion
Jf $100,001-$500,000 Cd $50,000,001-$100 million C) $10,000,000,001-$50 billion
{J $500,001-$1 million CJ $100,000,001-$500 million () More than $50 billion
oa O) $0-$50,000 C2 $1,000,001-$10 million CJ $500,000,001-$1 billion
16, Estimated liabilities CJ $50,001-$100,000 2) $10,000,001-$50 million J $1,000,000,001-$10 bitlion
2 $100,001-$500,000 UO) $50,000,001-$100 million ©) $10,000,000,001-$50 billion
(J $500,001-$1 million C2 $100,000,001-$500 million ) More than $50 billion

ae for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of ae
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on bf off 2 Ux

 

 

MM / DD /YYYY ‘
G “eC SOV [og lore . ,
x ttl ta To fii Lobe
Signature of authorized representative of debtor Printed name

Title Lres

Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case o-Z0-/2Zil/-laS DOCL Filed vVo/lo/Z5 Entered UVd/lso/Zo LLinb:0o
UNITED STATES BANKKUPITCUY CUUKE

EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts. gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

 

DEBTOR(S):__9 JACKSON HOLDING CORP CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning

Related Cases, to the petitioner’s best knowledge, information and belief:

|NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (11) are spouses or ex-spouses. (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541{a).]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

Ww

1. CASENO.: 6-2- FO6S! JUDGE: LAS DISTRICT/DIVISION: EASTERN

CASE PENDING: (YES/NO): NO [Jf closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE; DISMISSED
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): SAME PETITIONER _

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES: _ =
SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

DISTRICT/DIVISION:

 

2. CASE NO.: JUDGE:

 

 

 

CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): _

» SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):

REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

 

 

RELATED CASES:
NON-INDIVIDUAL” PART 9 (REAL PROPERTY)

* SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B -
SCHEDULE “A/B” OF

REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN

 

RELATED CASES: _ a sa _
Case o-Zo0-/2Z41lif-laS DVocl Filed Od/lsizo Entered Vo/lof/2s 11'50°06

 

 

 

[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION: :
CASE PENDING: (YES/NO): [/f closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES: a Se a

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN

SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

 

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):
CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form. 7
G dack son Held ing Corp

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner
by Toho Culnl, Pres

99 SMITHTOWN BLVD
Mailing Address of Debtor/Petitioner

SMITHTOWN NY 11787
City, State, Zip Code

 

 

 

Email Address

631 741 0501

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or

the dismissal of the case with prejudice.
NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise

result.
Case o-Zo0-/2Z41lif/-laS DVocl Filed O0/lsizo Entered Vo/lof/2s 11'50°06

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.

Chapter 7 x]
9 JACKSON HOLDING CORP

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her

knowledge.

 

Dated: Central Islip, New York [=] LJ, y .
06/69/9023 7 dactsen Holding Carp
i. El
Debtor

by Tole Ciba! , fres

 

Joint Debtor

s/
Attorney for Debtor

USBC-44 Rev. 11/15

 
Case o-Z50-/2Z1if/-laS Vocl Filed Oo/lsizo

CITIMORTGAGE INC.
1000 TECHNOLOGY DRIVE
O’FALLON, MO 63368

KNUCKLES, KOMOSINSKI & MANFRO
565 TAXTER ROAD

SUITE 590

ELMSFORD, NY 10523

entered Vo/lo/2s 1Lio0°06
